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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

In re:                                    )       Chapter 11
                                          )
RS FIT NW LLC                             )       Case No. 20-11568 (KBO)
                                          )       Objection Deadline: January 19, 2022 at 4:00 p.m.
                Reorganized Debtor.       )       Hearing Date: January 26, 2022 at 1:00 p.m.


  NOTICE OF MOTION OF MONICA LARA FOR RELIEF FROM THE
      AUTOMATIC STAY AND/OR DISCHARGE INJUNCTION

         To:    The Parties on the attached service list

         PLEASE TAKE NOTICE that on December 16, 2021, Monica Lara filed a

Motion For Relief From the Automatic Stay and/or Discharge Injunction (the

“Motion”).

         PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the

entry of an order granting the relief requested in the Motion must file a response or

objection, if any, to the Motion with the Clerk of the United States Bankruptcy

Court for the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington,

Delaware 19801 on or before January 19, 2022 at 4:00 p.m. (ET) (the “Objection

Deadline”). At the same time you must serve such Objection upon the following

counsel:




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 Jason C. Powell, Esquire
 The Powell Firm, LLC
 1201 N. Orange Street
 Suite 500
 P.O. Box 289
 Wilmington, DE 19899.


      PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be

held on January 26, 2022 at 1:00 p.m. (ET) before the Honorable Karen S.

Owens, United States Bankruptcy Court for the District of Delaware, via Zoom.

      IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,

THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION

WITHOUT FURTHER NOTICE OR HEARING.

Dated December 16, 2021                     THE POWELL FIRM, LLC

                                            /s/ Jason C. Powell
                                            Jason C. Powell (DE 3768)
                                            1201 N. Orange Street, Suite 500
                                            P.O. Box 289
                                            Wilmington, DE 19899
                                            (302)650-1572
                                            jpowell@delawarefirm.com
                                            Counsel for Movant




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